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Attorneys for Plaintiff;
JOANNA GONZALEZ

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOANNA GONZALEZ,
Case No.: ED CV 18-2631 FMO (SHKx)
Plaintiff,
FIRST AMENDED COMPLAINT
es for Monetary damages and

punitive damages for:
BAYER HEALTHCARE PHARMACEUTICALS
INC., 1) Strict Product Liability;

BAYER HEALTHCARE LLC., 2) ni violations, Cal. Civ. §1750 Et

WALMART STORE INC., WALMART INC.;} 3) Unfust Enrichment:

and DOES 2 through 50, inclusive 4) Breach of Express Warranty;
5) Breach of Implied Warranty.

Defendants. Filed Concurrently:
ena A Notice of Punitive Damages
A Venue Affidavit

 

 

Plaintiff through her attorney makes the following allegations based on
information and belief, except as to allegations she makes based on her personal
knowledge as to herself. Plaintiff believes that substantial evidence exist to

support the allegations set forth.

1
FIRST AMENDED COMPLAINT FOR DAMAGES

 
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I.
PARTIES

Plaintiff, as an individual re-alleges the following facts:

1. At all relevant times herein, Plaintiff JOANNA GONZALEZ is a fifty year old Hispanic
woman, with tawny skin tone, residing at all pertinent times in the County of San
Bernardino, State of California.

2. Plaintiff is informed and believes that, at all times relevant to this Complaint, BAYER
HEALTHCARE PHARMACEUTICAL INC., (“BAYER THE MAKER”), of the
Coppertone Sunscreen Lotion Ultra Guard, is a corporation organized and existing under’
the laws of the State of Delaware, having a principal business at 100 Bayer Boulevard,
Whippany, New Jersey 07981, and was doing business in the state of California during
all relevant time.

3. Plaintiff is informed and believes that, at all times relevant to this Complaint, Defendant
BAYER HEALTH CARE LLC., (“BAYER THE DISTRIBUTOR”,) of Coppertone
Sunscreen Lotion Ultra Guard SPF 50, is a limited liability corporation organized and
existing under the laws of the State of Delaware, having a principal business at 100
Bayer Boulevard, Whippany, New Jersey 07981land was doing business in the state of
California.

4. Defendant WALMART STORE INC. is a Corporation registered and organized in the
state of California with its principal executive offices on 702 SW 8" Street, Arkansas
72716.

5. The true names or capacities, whether corporate, subsidiary, associate or individual of
defendants named herein as DOES | through 50, inclusive, are unknown to Plaintiff
who therefore sues said Defendants by such fictitious names; Plaintiff will amend this
Complaint to show their true names and capacities when the same has been ascertained.

6. At all times relevant herein, each of the Doe Defendants were agents, employees,

representative of each of the remaining Defendants and were at all times acting within

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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the course and scope of such agency and/or employment, or was in some way the cause

of Plaintiff's damages.

II
AGENCY
7. At all relevant times herein, each Defendant, whether actually or fictitiously named, was

the principal, agent or employee of each other Defendant, and in acting as such
principal, or within the course and scope of such employment or agency, took some part
in the acts and omissions hereinafter set forth by reason of which each Defendant is
liable to Plaintiff for the relief prayed for herein.

8. When reference in this complaint is made to any act or omission of a Defendant
corporation, company, association, business entity, or partnership, such allegation shall
be deemed to mean that the Defendant and its owners, officers, directors, agents,
employees, or representatives did or had authorized such act or omission while engaged
in the management, direction, or control of the affairs of Defendants and while acting
within the scope and course of their duties.

9. When reference in this Complaint is made to any act or omission of Defendants, such
allegation shall be deemed to mean the act or omission of each Defendant acting
individually and jointly with the other named Defendants.

10. At all relevant times, each Defendant knew or realized that the other Defendants were
engaging in, or planned to engage in, the violations of law alleged in this Complaint.
Knowing or realizing that other Defendants were engaging in such unlawful conduct,
each Defendant nevertheless facilitated the commission of those unlawful acts. Each
Defendant intended to, and did, encouraged, facilitated, or assisted in the commission of
the unlawful acts, and thereby aided and abetted the other Defendants in the unlawful
conduct.

11. Each Defendant ratified the wrongful conduct of each other, its agents and/or
employees, accepted the benefit of their wrongful conduct, and failed to repudiate the

misconduct.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 

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JURISDICTION AND VENUE

12. Plaintiff seeks Court remedies for amounts that exceed the minimum of this Court

jurisdiction.

NATURE OF THE ACTION

. On September 3, 2017, Plaintiff purchased Coppertone sunscreen lotion product

[“lotion’”’] that were advertised to provide “ULTRA GUARD BROAD SPECTRUM
SPF 50 PROTECTION FROM THE MOST DAMAGING UVA/UVB RAY”
[Exhibit 1(a),(b)]

. Plaintiff read the lotion’s label and direction of use before applying it to herself. [Exhibit

2]

. Plaintiff used the lotion as directed, expecting it to be safe to expose her chest to the sun.
. Plaintiff felt a burning sensation where she applied the lotion.

. A Physician licensed by the State of California diagnosed the burn as a chemical burn

consistent with the use of the lotion.

. But for the use of “lotion,” Plaintiff would not have been burned in her chest.

. Plaintiff brings this product liability lawsuit against defendants BAYER

HEALTHCARE PHARMACEUTICALS INC., the “manufacturer” of the lotion, as well
as against the “distributor? BAYER HEALTHCARE LLC., and the “seller” defendant
WALMART STORE INC., [WALMART.]

. Plaintiff seeks State Court Remedies and punitive damages: Because Defendants

manufactured and/or distributed and /or sold and/or otherwise injected in the stream of
commerce a dangerous “product” that did not perform as safely as an ordinary consumer
would have expected it to perform, when used as intended and recommended; and that
caused plaintiff severe burns to her chest, makes the strict liability cause of action in this

Complaint not only warranted, but required.

. Moreover, during the pertinent period, Defendants engaged in a common plan and

scheme through the use of misleading advertising claims on their Coppertone Sunscreen

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Lotion’s container to induce consumers to purchase their product based on the purported

benefits it does not have, including but not limited the nature of the protection it affords,

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claiming “Ultra Guard”, against most damaging of UVA and/or UVB rays and
rated SPF 50.

22. Plaintiff paid a premium for the Coppertone Sunscreen lotion above comparable

SPECTRUM SPF 50” “From The Most Damaging UVA/UVB Rays”. In direct
opposition to defendants’ representation, plaintiff received instead serious chemical

burns and permanent scars to her cleavage.

The Most Damaging UVA/UVB Rays.”

24. UVA rays, UVB rays, and UVC rays are part of the sun’s spectrum and represent
harmful ultraviolet’s light waves. These light waves are short invisible waves. The
UVA rays measure about 320 to 400 nanometer; UVB measure about 290-320
nanometer, and UVC rays are less than 290 nanometer in length.

25. The truth, however, Defendants knew or should have known, their Coppertone

only protect the skin against harmful UVA rays, that penetrate deep within the skin

practices of Defendants, Plaintiff has purchased Defendant’s Coppertone Sunscreen

the most harmful UVA/UVB Rays.

 

* Sunlight rays waves are called infrared, or ultraviolet (UV) rays. These

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FIRST AMENDED COMPLAINT FOR DAMAGES

 

sunscreen lotions in the market that did not purport to provide “Ultra Guard” “BROAD

23. Moreover, Defendants falsely represented that their lotion provided “Protection From

sunscreen product, [at best which is less than most], does not protect from UVB rays and

having shorter wave lengths than the skin. As direct result of the deceptive advertising

Lotion “Ultra Guard”, under the false impression that she was receiving protection from

26. Defendants further deceptively advertised, marketed and represented that their “lotion”

provided the same level of protection against UVA and UVB rays using SPF 50 rating’,

Ultraviolet stimulate vitamin D in the biological body. However, while some

 
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when in fact, defendant knew or should have known, the SPF designation does not
measure UVA protection; and that the protection against UVA is significantly overrated.

27. Aside from concealing that Coppertone Sunscreen Lotion affords very little protection
if any from UVA harmful ultraviolet, defendants have also deceptively concealed from
plaintiff the evanescent effect of the lotion.

28. On the lotion container’s Active Ingredient, Defendants showed five of the active
ingredients: Avobenzone 3%, Homosalate 13%, Octisalate 5%, Octocrylene 7%, and
Oxybenzone 4%.

29. Defendants used Avobenzone based formula which swiftly degrades after exposure to
the sun.

30. In fact, scientific study shows that 36% of the effect of Avobenzone based formula
vanishes after only fifteen minutes exposure to the sun.

31. Other studies found a positive link between the use of sunscreen lotion in the United
States and the rise in skin cancer, because the consumers stays longer in the sun based
on the false assumption that sunscreen lotion protects them from the harmful Sunrays.
Henceforth Plaintiff is also asserting remedies pursuant to the California Consumer

Legal Remedies Act [CLRA] to wit Cal. Civ. Code § 1750 Et Seq, and additional

 

amounts UV rays are necessary catalyst for our well being, excess of and over
exposure to these UV rays can have nefarious effect on our skin such as
premature aging, cancer and in some cases photokeratitis. The SPF
designation on sunscreen products shows the level of protection to the skin
from the harmful UVB rays and possibly from by some of the shorter length UVA
rays. The higher the SPF the greater is the filtration of the harmful
ultraviolet. SPF 50, for example, offers the skin 50 times its natural
protection against sun burning, depending on the length of the skin exposure

, the intensity of the sun, the time of day, time of year and skin color.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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remedies and statutory penalties pursuant to Song-Beverly to wit Cal Civ. Code § 1790
et Seq.

Plaintiff has complied with the CLRA affidavit notice.

Plaintiff further complied with CCP §1782 CLRA letter.

Plaintiff has also complied with the notice of punitive damages.

FIRST CAUSE OF ACTION
Strict Product Liability

Against all defendants including Does 1-50
Plaintiff re-alleges and incorporates by reference paragraphs 1-34 as if each were set

forth fully and completely herein.

Defendants have manufactured and/or distributed and/or sold a Coppertone Sunscreen
lotion [Exhibit1 (a), and Exhibit 1(b).]

A lotion that did not perform as safely as an ordinary consumer would have expected.
Plaintiff has used the Coppertone according to the direction recommended by
defendants and in a reasonably foreseeable manner.

Plaintiff sustained a serious chemical burn on her chest.

The lotion’s failure to perform safely is substantial factor in causing Plaintiff injury to
her chest.

Plaintiff further suffered actual damages.

Moreover Plaintiff suffered humiliation and emotional distress.

Because defendants conduct was deceptive and oppressive Plaintiff is seeking Punitive

damages.

SECOND CAUSE OF ACTION
Violation of California Consumer Legal Remedies Act
Against All Defendants including DOES 1-50

Plaintiff re-alleges and incorporates by reference paragraph 1-43 as if each were set
forth fully and completely herein.
The California Consumer Legal Remedies Act [Cal. Civ. Code §1750 Et Seq.] applies

to Defendants’ conduct as described herein because:

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Plaintiff is a “person” as defined at Civil Code § 1761(c) and a “consumers” as defined at
Civil Code § 1761 (d).

Each and every Defendant is a corporation and a “person” as defined at Civil Code §
1761 (c).

The lotion is a “good” as defined as Civil Code § 1761(a).

The Plaintiff purchased from defendants the lotion, a “transaction” defined at Civil Code
§1761(e).

Thirty days or more prior to the filing of the Complaint, mailed to Defendants a
Consumer Legal Remedies Act’s Notification and demand letter pursuant to Cal. Civ.
Code §1782. [Exhibit 2]

Defendants as manufacturer and/ or distributor and/or seller of the lotion are within the
meaning of the California Consumer Legal Remedies act, to wit Cal. Civ. §1770 (a)

(2) Misrepresenting the source, sponsorship, approval, or certification of goods or
services.

(4) Using deceptive representations in connection with goods or services.

(5) Representing that goods or services have characteristics, benefits, that they do not
have .

Defendants’ representation in connection with the making and advertising of the lotion
as described above constitutes an unconscionable commercial practice and a deception,
fraud, false promise and misrepresentation of material facts.

Moreover Defendants conduct in making false claim with respect to the lotion stands
outside the norm of reasonable business practice.

Plaintiff after viewing the misleading statements on the Lotion’s bottle, she was led to
believe that the lotion would indeed provide the benefit it purports to give, at minimum
“Protection Against The Most Harmful UVA/UVB Rays.” She paid a premium over
the ordinary price to get a ULTRA GUARD brand. Contrary to the false claims of
protection asserted on the lotion container, Plaintiff received serious “chemical burns.”
As a direct result of the acts and/or omissions of Defendants, as set forth hereinabove,
Plaintiff suffered harm, and continue to suffer harm, both economic and non-economic,

in an amount according to proof at the time of trial.

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FIRST AMENDED COMPLAINT FOR DAMAGES

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Plaintiff has been damaged and suffered a loss as a result of the fraud,
misrepresentations/failure to disclose, and/or statutory violations of Defendants and their
representatives during the course of the sale of the lotion to Plaintiff, entitling Plaintiff to

a right of action against Defendants, including statutory penalties and attorney’s fees.

THIRD CAUSE OF ACTION
Unjust Enrichment and Common Law restitution
Against All Defendants and DOES 1-50

Plaintiff re-alleges and incorporates by reference paragraph 1-56 as if each were set forth
fully and completely herein.

As a result of Defendants’ wrongful and deceptive conduct, Plaintiffs suffered a
detriment while Defendants have received a benefit.

In purchasing Coppertone Sunscreen Lotion product Plaintiff conferred a benefit upon
Defendants by paying a premium price for the purchase of each product. Plaintiff paid
for these products with the expectation that she would receive a product that provided
the benefits claimed in the advertising of the lotion.

In accepting the price paid by Plaintiff for the lotion, while failing to provide the sun
protection it claimed, Defendants retained a price benefit to which they were not
entitled.

Defendants should not be allowed to retain the enormous profits generated and realized
from the sale of Coppertone sunscreen products that were sold by deception and fraud.
Allowing Defendants to retain the unjust profit would offend traditional notions of
justice and fair play and induce companies to misrepresent key characteristics of their
products in order to increase sales.

Defendants are in possession of funds which were obtained by falsehood, and retained
from consumers and which should be disgorged as illegally gotten gains in an amount to

be proven at trial.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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FOURTH CAUSE OF ACTION

Breach of Express Warranty
Violation of Song-Beverly Statute [Cal Civ Code §1791Et Seq.]
Against All Defendants Including DOES 1-50

Plaintiff re-alleges and incorporates by reference paragraphs 1-63 of this Complaint as if
each were set forth fully and completely herein.

Plaintiff is a “buyer” within the meaning of Cal. Civ. Code §1791(2)

Defendant Bayer Healthcare Pharmaceutical is a “manufacturer” as defined by Cal. Civ.
Code § 1791(10).

Defendant Bayer Healthcare LLC is a “distributor” as defined by Cal. Civ. Code §
1791(5).

Defendant Walmart Stores Inc. is a “seller” as defined by Cal. Civ. Code § 1791( 12},
Plaintiff and Defendant entered into a “sale” contract as defined by Cal. Civ. Code §
1791(14), when she purchased Coppertone sunscreen product that was defective,
dangerous, and subject of false and misleading claims.

The terms of the contract included the representations, affirmations and description
made by Defendants on the advertising package of the Coppertone Sunscreen Lotion
that Plaintiff purchased as indicated on Exhibit 1(a) and 1(b).

Defendants gave “express warranty” [as defined by Cal. Civ. Code §1791.2] to Plaintiff
that their Coppertone sunscreen lotion provided the benefits stated on the container of
their lotion.

Defendants breached their express warranties to plaintiff because the lotion purchased
by Plaintiff did not provide the sun protection benefits which it purports to have.
Defendants’ express warranties were a factor in deciding whether to purchase and use
Defendants’ lotion.

As a direct and proximate result of the aforementioned breach of express warranty

Plaintiff suffered economic loss, personal injury to her body and soul.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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FIFTH CAUSE

Breach of Implied Warranty
Violation of Song-Beverly Statute [Cal Civ Code §1791Et Seq.]
Against All Defendants Including DOES 1-50

75. Plaintiff re-alleges and incorporates by reference paragraph 1-74 of this
Complaint as if each were set forth fully and completely herein.

76. Defendants provided “implied warranty” [as defined in Cal. Civ. Code
§1791.1] to Plaintiff that Coppertone sunscreen is both merchantable and fit
for a particular purpose when they advertised on the lotion’s container the
purported benefits it has.

77. When Defendants contracted with Plaintiff to purchase the Coppertone
sunscreen products, Defendants knew or should have known that Plaintiff
purchased the Coppertone sunscreen lotion to obtain protection claimed on
the container of the lotion.

78. Moreover, when Defendants contracted with Plaintiff to purchase
Coppertone sunscreen lotion, Defendants knew or should have known that
plaintiffs relied on Defendants’ advertisement, skill, expertise and judgment
to provide the benefits claimed.

79. Defendants breached their implied warranty of because the lotion failed to
provide the sun protection benefits as impliedly advertised on the container
of their lotion; the lotion is not fit for the ordinary purpose for which the
Coppertone sunscreen lotion is intended; the lotion does not conform to the
promises and affirmation of facts made on its container.

80. Moreover Defendants breached their implied warranty of fitness for a
particular purpose when they sold and marketed the Coppertone sunscreen
lotion to Plaintiff which did not have the sun protection benefits as

represented on the container.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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81. Asa direct and proximate result of the aforementioned breach of implied
warranty of merchantability and warranty of fitness for a particular purpose,

Plaintiff suffered economic loss and Personal injury.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for a judgment as follows:
1) Awarding Plaintiff monetary damages for her

a) Actual damages
b) Pain and suffering damages
c) Medical Damage, Present and Future
d) Statutory penalties
e) Restitution
f) Attorney fees and costs, and
g) Any such other and further relief as the Court may deem just and

proper.

JURY DEMAND
Plaintiff demand a trial by jury for all claims so triable.

Dated: March 13, 2019

 

 

Lott Mricts Esq
Marcella Lucente, Esq
Attomey for Plaintiff
JOANNA GONZALEZ

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FIRST AMENDED COMPLAINT FOR DAMAGES

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EXHIBIT 1-A
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EXHIBIT 1-B
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EXHIBIT 2
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PROOF OF SERVICE
(UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA)

I am employed in the county of San Bernardino, State of California. I am over the age of 18 years
and not a party to the within action. My business address is 337 N. Vineyard Avenue, Suite 217,
Ontario, California 91764

On 0313/2019, I served the foregoing document(s) described as FIRST AMENDED COMPLAINT on
interested parties in this action.

(XX) by placing the original and/or a true copy thereof enclosed in (a) sealed envelope(s), addressed as
follows: See Attached Mailing List

(XX) BY REGULAR MAIL: I deposited such envelope in the mail at 337 N. Vineyard Avenue, Suite
217, Ontario, California. The envelope was mailed with postage thereon fully prepaid.

I am “readily familiar” with the firms practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with the U.S. postal service on that same day in
the ordinary course of business. I am aware that on motion of the party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one (1) day after
date of deposit for mailing in affidavit.

0 BY FACSIMILE SERVICE: I transmitted a true copy of said document(s) by facsimile
machine, and no error was reported. Said fax transmission(s) were directed as indicated on the
service list.

(xx) BY ELECTRONIC SERVICE: by causing the foregoing documents to electronically filed using
the court’s electronic filing system which constitutes service of the filed documents on the individuals
listed on the attached mailing list

( ) BY PERSONAL SERVICE: I caused such envelope(s) to be delivered by hand to the
above addressee(s).

O (State) I declare under penalty of perjury under the laws of the State of California
that the above is true and correct.

(xx ) (Federal) I declare that I am employed in the office of a member of the Bar of this
Court, at whose direction the service was made. I declare under penalty of perjury under the laws

of the State of California that the foregoing is true and correct.

Executed on March 13, 2019, at Ontario, California.

 
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Mailing List

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Andrew A. Kohn

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The Honorable Fernando M. Olguin

United States District Court, Central District
350 W. 1" Street

6" Floor, Courtroom 6D

Los Angeles, California 90012
